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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION



UNITED STATES OF AMERICA,

                                 Plaintiff,

v.                                              CRIMINAL ACTION NO. 2:95-cr-00198-02

TREVOR LITTLE,

                                 Defendant.


                    MEMORANDUM OPINION AND JUDGMENT ORDER

          Pending before the Court is a motion, brought pursuant to 18 U.S.C. ' 3582(c)(2), to reduce

Defendant=s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2014, the United States Sentencing Guidelines were amended resulting in reductions

in the guidelines in Section 2D1.1. The guideline reduction was given retroactive effect. Pursuant

to the order entered on January 7, 2016, this case was designated for Standard consideration.

          The Court has received the original Presentence Investigation Report (PSI), original

Judgment and Commitment Order and Statement of Reasons, plea agreement, and addendum to

the PSI from the Probation Office, and received any materials submitted by the parties on this

issue.

          By its written and filed response, the United States does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Motion [ECF 746] is GRANTED. It is

ORDERED that Defendant=s previous sentence be reduced to a period of 360 months, with credit
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for time served to date. This Order is subject to the prohibition contained within U.S.S.G.

'1B1.10(b)(2)(C).

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshals

Service.

                                          ENTER:         February 23, 2016
